    Case: 1:17-md-02804-DAP Doc #: 167 Filed: 03/06/18 1 of 8. PageID #: 937




                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION           )             MDL No. 2804
OPIATE LITIGATION                      )
                                       )             Case No. 17-MD-2804
THIS DOCUMENT RELATES TO:              )
                                       )             Judge Dan Aaron Polster
ALL CASES                              )
                                       )             PROTECTIVE ORDER RE:
                                       )             DEA’S ARCOS/DADS DATABASE
_______________________________________


       The Court conducted a hearing on February 26, 2018 and entered an Order informing the

parties and the United States of America that the Court intended to consider entering a protective order

regarding the anticipated disclosure of certain data by the United States Drug Enforcement

Administration (“DEA”) related to the Automated Records and Consolidated Orders System/Diversion

Analysis and Detection System (“ARCOS”). (Doc #: 155.) The Court, having reviewed the proposed

protective orders submitted by Plaintiffs and the DEA, has determined that any such disclosure shall

remain confidential and shall be used only for litigation purposes or in connection with state and local

law enforcement efforts. More specifically, the Court concludes that disclosure may be made to the

governmental Plaintiffs, which includes cities, counties and Native American tribes, for this litigation

and/or law enforcement purposes, and disclosure may be made to State Attorneys General for litigation

and law enforcement purposes. All lawyers and parties must read this Protective Order and sign the

Acknowledgement of Protective Order and Agreement to Be Bound (Ex. A).
    Case: 1:17-md-02804-DAP Doc #: 167 Filed: 03/06/18 2 of 8. PageID #: 938



       The DEA proposed, and Defendants agreed with, two levels of confidentiality designations: (1)

“Attorneys’ Eyes Only – Subject to Protective Order,” and (2) “Confidential - Subject to Protective

Order.” (See Doc #: 162-2 ¶ 3.) The DEA proposed marking documents “Attorneys’ Eyes Only -

Subject to Protective Order” “only if the document contains law-enforcement-sensitive information,

proprietary trade secret information, sensitive personal information, private commercial business or

financial information, sensitive personal information, private commercial business or financial

information, personally identifying information, or information otherwise protected by the Privacy Act, 5

U.S.C. § 552a.” (Doc #: 162-2 at 2 ¶ 3.) Plaintiffs proposed one level of confidentiality, “Confidential

- Subject to Protective Order.” The Court believes that one level of protection is sufficient to cover the

data being produced at this time. However, the Court may re-visit this issue in the future should

additional ARCOS data be produced.

       Accordingly, it is hereby ORDERED:

       1.      Purpose. The Court enters this Protective Order to govern the disclosure of official

Department of Justice (“DOJ”) information collected and maintained by the DEA in its ARCOS

database.

       2.      Scope. This Order applies to all documents or electronically stored information

(“ESI”) provided by the DEA to the Court, counsel, or any parties in the above-captioned litigation,

including but not limited to: any data produced directly from DEA’s ARCOS database; any reports

generated from DEA’s ARCOS database; any information collected and maintained by DEA in its

ARCOS database; and any derivative documents that the parties or their employees, agents or experts

create using ARCOS data (collectively, “ARCOS Data”).
     Case: 1:17-md-02804-DAP Doc #: 167 Filed: 03/06/18 3 of 8. PageID #: 939



       3.      Form and Timing of Designation. Prior to the production or disclosure of

documents, the DEA shall designate all documents as confidential and restricted in disclosure under the

Order by stamping “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER” on the document in

a manner that will not interfere with the legibility of the document and that will permit complete removal

of the CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER designation. The designation

“CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER” under this Order does not constitute a

finding that the document or information has any status or protection by statute or otherwise except to

the extent and for the purposes of this Order. If the DEA produces ESI that cannot itself be marked

with one of these two designations, the DEA shall place the designation on the physical media used to

produce the ESI or in the title of any secure server, link, or file used to produce the ESI.

       4.      Inadvertent Production. If the DEA inadvertently produces any document without a

confidentiality designation, it does not forfeit the right to later stamp the document(s) with a

confidentiality designation and obtain for the document(s) the full protection of this Order.

       5.      Authorized Use. The ARCOS data designated “CONFIDENTIAL – SUBJECT TO

PROTECTIVE ORDER” under this Order (collectively, “Designated Information”) shall not be used

by the parties, counsel for the parties, or any other authorized persons identified in ¶ 6 for any purpose

whatsoever other than (1) to mediate, settle, prosecute, or defend the above-captioned litigation, or (2)

for law enforcement purposes. Specifically, Designated Information shall not be used by any person or

entity for commercial purposes, in furtherance of business objectives, or to gain a competitive

advantage.

       6.      Authorized Individuals. Documents and/or ESI designated “CONFIDENTIAL –

SUBJECT TO PROTECTIVE ORDER” shall be available only to the parties and attorneys for the
     Case: 1:17-md-02804-DAP Doc #: 167 Filed: 03/06/18 4 of 8. PageID #: 940



parties and State Attorneys General. The parties and counsel for the parties shall not disclose or permit

the disclosure of any Designated Information to any third person or entity except:

              a.     Employees and agents of counsel assisting with the Litigation who have a need
       to view the Designated Information in connection with the Litigation;

               b.     Court reporters in the Litigation, the judge and his employees or clerks working
               on the Litigation, and Special Masters assisting with the Litigation;

               c.      Experts employed to assist in the Litigation, but only after completing the
       certification contained in Attachment A, Acknowledgement of Protective Order and Agreement
       to be Bound, the original of which shall be retained by counsel until the above-captioned case is
       conclusively resolved;

               d.      State and local law enforcement including State Attorneys General; and

              e.      Other persons only upon order of the Court and on such conditions as may be
       agreed or ordered, as set out in the paragraph below concerning “Public Records Requests.”

Any person to whom disclosure is made shall be bound by the terms of this Order. Designated

Information shall not be communicated to the public or media in any way or form without prior

approval of the Court. Counsel shall take measures to prevent unauthorized disclosure of Designated

Information.

       7.      Copies. All copies of Designated Information shall thereafter be entitled to the

protection of this Order.

       8.      Filing Documents Containing Designated Information. If contained in a pleading,

motion, or other document filed with this Court, any Designated Information must be marked with the

applicable confidentiality designation, designated as “Subject to Protective Order,” and filed under seal

with prior Court authorization. Only the portions of the filed document containing Designated

Information are subject to being filed under seal, and a party shall file both a redacted version for the

public docket and an unredacted version for sealing.
     Case: 1:17-md-02804-DAP Doc #: 167 Filed: 03/06/18 5 of 8. PageID #: 941



       9.      Deposition Testimony Concerning the Designated Information. Deposition

testimony concerning the Designated Information, and exhibits to depositions containing the Designated

Information, shall be deemed CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER only if

designated within ten days of the deposition. Such designation shall be specific as to the portions of the

transcript or any exhibit to be designated as CONFIDENTIAL – SUBJECT TO PROTECTIVE

ORDER. Thereafter, the deposition transcripts and any of those portions so designated shall be

protected as CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER, pending objection, under

the terms of this Order.

       10.     Use of Designated Information at Trial. All trials are open to the pubic. Absent

order of the Court, there will be no restrictions on the use of any document that may be introduced by

any party during the trial. If a party intends to present at trial CONFIDENTIAL – SUBJECT TO

PROTECTIVE ORDER documents or information derived therefrom, such party shall provide

advance notice to the other parties and to the DEA at least five (5) days before the commencement of

trial by identifying the documents or information at issue as specifically as possible (i.e., by Bates

number, page range, deposition transcript lines, etc.) without divulging the actual CONFIDENTIAL –

SUBJECT TO PROTECTIVE ORDER documents or information. The Court may thereafter make

such orders as are necessary to govern the use of such documents of information at trial. Any and all

documents that may have been subject to sealing during discovery or motion practice will not enjoy a

protected or confidential designation if the matter comes on for hearing, argument, or trial in the

courtroom. The hearing, argument, or trial will be public in all respects.

       11.     De-Designation of Documents Stamped “CONFIDENTIAL – SUBJECT TO

PROTECTIVE ORDER” under this Order. Any Designated Information is subject to challenge by
     Case: 1:17-md-02804-DAP Doc #: 167 Filed: 03/06/18 6 of 8. PageID #: 942



any party or nonparty with standing to object (hereafter, “party”). Before filing any motions or

objections to a confidentiality designation with the Court, the objecting party shall have an obligation to

meet and confer in a good faith effort to resolve the objection by agreement. If agreement is reached

confirming or waiving the CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER designation as

to any documents subject to the objection, the designating party shall serve on all parties a notice

specifying the documents and the nature of the agreement.

       12.     Obligations on Conclusion of Litigation. Designated Information shall at all times

remain the property of DOJ, subject to DEA control. Unless otherwise agreed upon or ordered, this

Order shall remain in force after dismissal or entry of final judgment not subject to further appeal.

Within thirty days after dismissal or entry of final judgment not subject to further appeal, all Designated

Information and copies thereof shall be returned to the DEA, through its DOJ counsel, unless: (1) the

document has been offered into evidence or filed without restriction as to disclosure, or (2) the parties

agree to destruction in lieu of return. Notwithstanding the above requirements to return or destroy

documents, counsel may retain attorney work product, but it shall continue to be subject to this Order.

After dismissal or entry of final judgment not subject to further appeal, the Clerk may elect to return or,

after notice, destroy documents filed under seal or offered at trial.

       13.     Public Record Requests. Because many of the Plaintiffs in this litigation are

governmental entities, they may be subject to Public Records Laws, including, but not limited to, the

Freedom of Information Act (collectively, “Public Records Laws”). As such, the Plaintiffs may receive

requests for the Designated Information under applicable Public Records Laws (“Public Records

Requests”). If Plaintiffs receive such requests, they shall immediately notify the DEA and Defendants of

the request. Plaintiff will provide the notification to the DEA and Defendants via email to counsel of
    Case: 1:17-md-02804-DAP Doc #: 167 Filed: 03/06/18 7 of 8. PageID #: 943



record for the Defendants and for the DEA in this litigation. Should Defendants or the DEA decide to

challenge the Public Records Request, the challenging party must, within two business days after

notification of the existence of the request, file an appropriate action in this Court, opposing production

of the records. Where such a challenge is filed with this Court, Plaintiffs shall not release any

Designated Information without order of this Court.

       IT IS SO ORDERED.


                                                /s/ Dan A. Polster March 6, 2018
                                              Dan Aaron Polster
                                              United States District Judge
    Case: 1:17-md-02804-DAP Doc #: 167 Filed: 03/06/18 8 of 8. PageID #: 944



                                              [Exhibit A]




                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION




IN RE: NATIONAL PRESCRIPTION           )             MDL No. 2804
OPIATE LITIGATION                      )
                                       )             Case No. 17-MD-2804
THIS DOCUMENT RELATES TO:              )
ALL CASES                              )             Judge Dan Aaron Polster
                                       )
                                       )             ACKNOWLEDGEMENT OF
                                       )             PROTECTIVE ORDER AND
______________________________________ )             AGREEMENT TO BE BOUND


       The undersigned hereby acknowledges that he/she has read the Protective Order entered in the

above-captioned litigation, understands its terms, and agrees to be bound by its terms. The

undersigned submits to the jurisdiction of the United States District Court for the Northern District of

Ohio in matters relating to the Protective Order. The undersigned understands that the terms of the

Protective Order obligate him/her to use documents designated as “CONFIDENTIAL – SUBJECT

TO PROTECTIVE ORDER” solely for purposes of the above-captioned action or for law

enforcement purposes, and that disclosure of any such documents to third-persons is prohibited except

in accordance with the Protective Order or with permission of the Court.

                                              ________________________________________
                                              Signature

                                              ________________________________________
                                              Date
